                       Case 1:21-cr-00159-ABJ Document 1 Filed 01/08/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        DistrictDistrict
                                                   __________    of Columbia
                                                                         of __________

                  United States of America                          )
                             v.                                     )
        CLEVELAND GROVER MEREDITH, JR.
                                                                    )      Case No.
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  January 7, 2021                in the county of                                     in the
                       District of          Columbia            , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. § 875(c)                                Transmitting a Threat in Interstate Commerce

7 D.C. Code § 2502.01(a)                          Possession of an Unregistered Firearm

7 D.C. Code § 2506.01(a)                          Unlawful Possesssion of Ammunition




         This criminal complaint is based on these facts:
SEE ATTACHED STATEMENT OF FACTS




         u Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                SPECIAL AGENT DONALD MOCKENHAUPT
                                                                                                Printed name and title

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7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV                                               G. Michael Harvey
                                                                                                          2021.01.08 12:57:52
Date:     January 8, 2021                                                                                 -05'00'
                                                                                                  Judge’s signature

City and state:                      WASHINGTON, D.C.                           G. MICHAEL HARVEY, MAGISTRATE JUDGE
                                                                                                Printed name and title



        Print                        Save As...                  Attach                                                  Reset
